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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF SOUTH CAROLINA

United States of America            )
                                    ) Cr. No. 1:07-1250
       vs.                          )
                                    )
Andre Jamal Tillman,                )      ORDER AND OPINION
                                    )
                     Defendant.     )
___________________________________ )

       On June 15, 2020, Defendant Andre Jamal Tillman filed a motion asking “if there is anything

in the Care Act that would allow me to petition the court for some relief such as a reduction in my

sentence.” ECF No. 89. Under 18 U.S.C. § 3582(c)(1)(A), the court, on motion of a defendant after

(1) fully exhausting administrative rights to appeal a failure of the BOP to bring a motion on his

behalf, or (2) the lapse of 30 days from the receipt of such a request by the warden of the facility,

whichever is earlier, may reduce the term of imprisonment. Section 3582(c)(1)(A), as amended by

the First Step Act, mandates the defendant exhaust administrative remedies prior to seeking relief

in this court. See Ross v. Blake, 136 S. Ct. 1850, 1857 (2016) (finding “mandatory exhaustion

statutes . . . establish mandatory exhaustion regimes, foreclosing judicial discretion”); United States

v. Monzon, No. 99cr157, 2020 WL 550220, at *2 (S.D.N.Y. Feb. 4. 2020) (denying motion for

reduction of sentence because defendant failed to exhaust his administrative remedies, but declining

to decide whether exhaustion requirement is jurisdictional). Defendant does not allege he has made

such a request to his warden, or exhausted his administrative remedies under § 3582(c)(1)(A).1




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 Defendant must first apply to his Warden, and, if he receives a denial within 30 days, must appeal
the Warden’s denial to the Regional Director within 20 days and continue to appeal any denial until
his administrative remedies are exhausted. See 28 C.F.R. part 542, subpart B. If the Warden does
not act on the request within 30 days from its receipt, Defendant may reapply to this court.
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      Defendant’s motion for compassionate release (ECF No. 89) is denied, without prejudice.

      IT IS SO ORDERED.


                                          /s/ Margaret B. Seymour
                                          Senior United States District Judge

Columbia, South Carolina

August 19, 2020
